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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           SOUTHERN DIVISION - PIKEVILLE

   UNITED STATES OF AMERICA,                           CRIMINAL NO. 7:17-01-KKC
         Plaintiff,

   V.                                                             ORDER

   LATISHA R. MCCOY,
         Defendant.


   This matter is before the Court on a recommended disposition in which the Magistrate Judge

makes certain recommendations regarding the defendant’s admitted violations of the terms of his

supervised release (DE 301). No party has filed objections to the recommendation and the

defendant has waived her right to appear before the district judge and to make a statement and

present mitigating information (DE 303).

   Accordingly, the Court hereby ORDERS that the recommended disposition is ADOPTED as the

Court’s opinion. The Court will enter a judgment consistent with the recommendation.
